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CA: Wy S

VCU Short Court Case Final
Plaintiff; VCU Student, Johnny O Oliverio

Student Id in 2022, oliverioj

versus
Virginia Commonwealth University glae [pe 2?
And Opposing Parties . Yea
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To: The City of Richmond General Distsict Court

Richmond, Virginia.

- AIiRcours
3\2 £20 erent ictriet Court of Virginia

Virginia Pro Se Lawsuit
Plaintiff:
Johnny O Oliverio, also known as John Gabriel Oliverio.
Address: 1425 Green Pasture Road, Sandston, Virginia 23150
VCU Student Id in 2022: oliverioj
Email Address: JohnnyO@TenthDegreeRealEstate.com
Cell number: 804 737 8700

Opposing Parties Name:

Virginia Commonwealth University, also know as VCU

Dr. Rao, President of VCU

910 W. Franklin Street, Richmond Virginia (Box 842512) 23284-2512
Phone: 804 828 1200

Email: president@vcu.edu

Amy Andres, Director, and Associate University Librarian VCU art (VCUart)
Qatar Libraries

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Phone: +974-4402-0555

Email: ajandres(@vcu.edu

Teresa Doherty, MLIS, Student Success Librarian
Phone 804 828 8658

Email: mtdohert(@vcu.edu

For reference in Paragraphs below: Names used interchangeably with the
same meaning are:

VCU’s Office of Institutional Equity, Effectiveness and Success, Also Titled (IES).

Johnny O Oliverio Plaintiff also Coach O, Highland Springs High School 1973 -
1980

The Plaintiff is suing for damages and has filed complaints of discrimination to the
City of Richmond General District Court: Civil against Virginia Commonwealth
University and opposing parties: The Plaintiff is accusing VCU Faculty and Staff
at the Cabell Library on the Monroe Campus and VCU Librarian Teresa Doherty
and employee had an obligation and responsibility to prevent discrimination
against plaintiff.

The Plaintiff has initiated legal action to The City of Richmond General District
Court, Civil: Against VCU and other parties involved. Specifically, the Plaintiff is
alleging that VCU Faculty and Staff at the Cabell Library on the Monroe Campus
in Richmond Virginia as well as VCU Librarian Teresa Doherty and employee
failed to prevent discrimination against Plaintiff and had an obligation to
immediately report any conversations of racist comments to the VCU’s Office of
Institutional Equity, Effectiveness and Success which VCU Faculty did not report
on March 30", 2022 or any time after that confrontation.

The Defendant VCU and VCU Librarian Teresa Doherty and employee were
obligated to report and racist conversations or incidents involving faculty or staff
even if those conversations took place in private.
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Any such conversations by VCU’s Faculty and Staff were required to be reported
to VCU’s Office of Institutional Equity, Effectiveness and Success. However the
Plaintiff alleges that The Defendant VCU and VCU Librarian Teresa Doherty and
employee failed to report such conversations to the IES office on behalf of the
Plaintiff, who believes that all VCU students have a right to this protection. VCU
persisted in disregarding and concealing the racist conversations to VCU’s Office
of Institutional Equity, Effectiveness and Success on or before March 30", 2022.

The Defendant’s conversations were to be reported to VCU’s Office of
Institutional Equity, Effectiveness and Success, which VCU’s Amy Andres,
Director, and Associate University Librarian VCU art (VCUart) Qatar Libraries
failed to respond to email on March 30, 2022, as evidenced by the email below.

In addition, the Defendant did not report the raciest accusations made against the
Plaintiff at the front desk of the Cabell Library on March 30", 2022 to VCU’s
Office of Institutional Equity, Effectiveness and Success.

The responsibility for building a case for or against Plaintiff, Johnny O Oliverio
rests with VCU’s Office of Institutional Equity, Effectiveness and Success (IES),
not with VCU Librarian Teresa Doherty and employee who made raciest remarks
against the Plaintiff. It is not the responsibility of VCU Librarian Teresa Doherty
to target the Plaintiff and wait for Plaintiff to approach the Cabell Library front
desk to make such remarks.

Evidence from the policies of VCU’s Office of Institutional Equity, Effectiveness
and Success (IES) website demonstrates that VCU was obligated to follow all IES
policies and not discriminate against Plaintiff, Johnny O Oliverio, as every VCU
student has the right to such protection. However, the Plaintiff was not afforded
these rights from Defendant VCU and opposing parties.

Evidence: VCU’s Office of Institutional Equity, Effectiveness and Success (IES)
Website: https://inclusive.vcu.edu/
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Evidence: After the Humiliating confrontation in Public on March 30", 2022,
about raciest comments with Johnny O Oliverio, Teresa Doherty, MLIS, continued
to ignore her responsibility a second time to report any raciest incident or
comments to VCU’s Office of Institutional Equity, Effectiveness and Success
(IES). The Plaintiff on the same day March 30", 2022, sent this email to VCU’s
Amy Andres, Director, and Associate University Librarian VCU art (VCUart)
Qatar Libraries.

Following a Humiliating confrontation in Public on March 30", 2022, in which
raciest comments were made to Plaintiff, Johnny O Oliverio, Teresa Doherty,
MLIS failed to fulfill her responsibilities a second time by not reporting the
incident or comments to VCU’s Office of Institutional Equity, Effectiveness and
Success (IES). On the same day, March 30", 2022, the Plaintiff sent an email to
VCU’s Amy Andres, Director, and Associate University Librarian VCU art
(VCUart) Qatar Libraries regarding the racist incident. Evidence of email below:

To: ajandres@vcu.edu
Wed 3/30/2022 12:47 PM

This Morning | was accused by a VCU Employee of using 'Raciest'
comments by a 3rd Party also employed by VCU Cabell Library.
| requested a Meeting with Her and the Employee who accused me
of Raciest Comments. She Replied 'That Person may feel Uncomfortable
meeting with You.' She gave me Her Card and told Me to email her
concerning the meeting | requested.

My Question to you Ms. Amy Andres is, 'Do the VCU Guidelines
permit an Employee to Accuse a Student Alumni Senior Citizen of Raciest
Comments and then Reply that the 3rd Person Accuser does not have to
attend a Meeting because they might be uncomfortable?

Are those Your Guidelines?
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Please Save the Security Camera Audio/Video of our Conversation
this morning at the Front Desk.

My VCU ID is oliverioj

Thank you very Much.
Johnny O Oliverio

Teresa Doherty, MLIS continued to escalate her efforts to harass and humiliate and
publicly confront Plaintiff Johnny O Oliverio, despite there being no documented
reports of racist conversations with the employee made to VCU’s Office of
Institutional Equity, Effectiveness and Success as Teresa initiated the confrontation
in Public that was not allowing the Plaintiff his rights afforded to all VCU students
by the IES.

Evidence: The email below serves as documentation that VCU’s Amy Andres,
Director, and Associate University Librarian VCU art (VCUart) Qatar Libraries
and Cabell Librarian Teresa Doherty and employee failed to report to VCU’s
Office of Institutional Equity, Effectiveness and Success and ignored VCU’s IES
policies and is highlighted in bold letters within the email that “No Records exist
on this confrontation on or after the March 30", 2022, date.

Evidence: VCU records prove that VCU’s Amy Andres, Director, and Associate
University Librarian VCU art (VCUart) Qatar Libraries and Cabell Librarian
Teresa Doherty and employee failed to report to VCU’s Office of Institutional
Equity, Effectiveness and Success as request by Plaintiff for proof of records to
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VCU’s Office of Institutional Equity, Effectiveness and Success do not exist in
email from Michele S. Howell, FOIA Officer to Plaintiff: Again: No records exist.

Dear Mr. Oliverio,

I am writing to respond to the part of your March 1, 2023 email to Dr, Nasim
below wherein you ask for records. It is my understanding that Dr. Rodriguez will
be responding separately to your letter also mentioned below after Spring Break.
As to your request for records, you asked if there are files from Cabell Library
reporting a confrontation that you indicate occurred on March 30, 2022 at the front
desk on the first floor. A search of Cabell Library files returned nothing
responsive. Therefore, the requested records do not exist.

Thank you.

Sincerely,

Michele S. Howell

FOIA Officer

Virginia Commonwealth University

Enterprise Marketing and Communications

912 W. Grace St./ P.O. Box 842041

Richmond, VA 23284-2041

804-827-3909 (Direct)

804-828-1463 (Main)

The Plaintiff is Suing VCU for damages of Discrimination and filing this
Complaint to the City of Richmond General District Civil Court against the
Defendant, Virginia Commonwealth University and opposing parties: The Plaintiff
argues that it was the obligation and responsibility of VCU and opposing parties to
respond in a timely manner to the request for the security camera footage of the
raciest incident that occurred at the front desk of the Cabell Library in public on
March 30", 2022. VCU’s Amy Andres, Director, and Associate University
Librarian VCU art (VCUart) Qatar Libraries ignored her obligation and
responsibilities to report the email to the IES; Furthermore, VCU’s Amy Andres,
Director, and Associate University Librarian should have been thoroughly
informed about VCU’s security video footage regulations from the email request
for security camera video footage that was going to expire in seven days (7);
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however Amy Andres Director, and Associate University Librarian did not respond
to the email of Plaintiff on the same day as the racist accusations on March 30",
2022 and allowed the expiration date to pass; resulting in the loss of security
camera evidence that all VCU students are provided by Federal Law of the
Regulations of the Family Educational Rights and Privacy Act (FERPA).

This discriminatory action taken by VCU’s Amy Andres, Director, and Associate
University Librarian is unacceptable and must be addressed to prevent
discrimination not only to the Plaintiff but also future VCU students. It is
important that VCU take appropriate measures to ensure that their Faculty and
Staff understand the obligations and responsibilities which they did not provide for
Plaintiff; to prevent discrimination and respond to any incidents of discrimination
in a timely manner.

Evidence: Confirmation email below: Request by Plaintiff for VCU security
footage of Confrontation on March 30", 2022.

Evidence Documented:
Email received by Plaintiff Johnny O Oliverio from Laura Gariepy:

Laura Gariepy <lwgariepy@vcu.edu>

To: johnnyo tenthdegreerealestate.com
Ce: president@vcu.edu

Tue 3/14/2023 4:51 PM
Mr. Oliverio,

No records (including video records) exist of the incident referenced on March 30,
2022. Video records are maintained for seven days and then automatically deleted.
You are welcome to review the VCU Campus Security Camera System Policy for
more information. I am aware that you also received a response from our Freedom
of Information Act (FOIA) Officer confirming that the records you have requested
do not exist.

Please let me know if you wish to meet.

Best,
Laura
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The Plaintiff is Suing VCU for damages of Discrimination and filing this
Complaint to the City of Richmond General District Civil Court against the
Defendant, Virginia Commonwealth University and opposing parties as The
Plaintiff, Johnny O Oliverio is also suing for damages against Defendant VCU for
Discriminating by VCU not abiding by Regulations of the Family Educational
Rights and Privacy Act (FERPA) which is a Federal Law that protects the privacy
of all student's educational video footage and recordings required by the
Regulations of the Family Educational Rights and Privacy Act; And Not
Discriminate against any student including Plaintiff, Johnny O Oliverio, Student on
March 30", 2022, id: oliverioj. As: VCU did not provide identifiable recordings of
video footage that contain such information on Plaintiff's request. VCU was
required to provide Plaintiff Johnny O Oliverio for the collection, use and storage
of video footage that would abide by the Regulations of the Family Educational
Rights and Privacy Act (FERPA); Said requirements are provided to all students
including Plaintiff's as Plaintiff Johnny O Oliverio who was Discriminated Against
by Defendant VCU; as his email request on March 30“ was ignored by VCU.

Relief for Damages for Plaintiff from Defendant VCU and opposing parties:

The Plaintiff has suffered wrongs, humiliation, degradation, and discrimination at
the hands of Teresa Doherty, MLIS, Student Success Librarian in a public setting
at VCU. The Plaintiff is seeking relief in the amount of Ten Million Dollars,
(11,000,000.00) for the resulting damages.

Relief for Damages for Plaintiff from Defendant VCU and opposing parties:

Mental Cruelty and Depression: Five Million doHars (5,000,000.00) Evidence of
the mental distress and suffering caused by the racially charged verbal assault that
occurred on March 30", 2022, the Plaintiff's Doctor, Doctor Michael Sheehan
prescribed medication to relieve the resulting headaches and depression.

Evidence: Medical records of Dr. Michael Sheehan, of Plaintiff Johnny O Oliverio
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LABURNUM MEDICAL CENTER
4620 SOUTH LABURUM AVENUE
RICHMOND VA 23231-9973
804-226-2444

Ete BON SECOURS MEDICAL GROUP

3/24/2023 11:44 AM

Mr. John G Oliverio Jr
1425 Green Pasture Rd
Sandston VA 23150-1005
To who it may concern:

Mr. John Oliverio was started on an antidepressant on 4-7-2022.

Singerely, .
Shade

Michael Sheehan, MD

John G Oliverio Jr XXXXX9817

SR
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The mental distress and suffering experienced by the plaintiff was unimaginable
and each month the Plaintiff had to come to grips with the fact that his research
had come to a stop at the Cabell Library to prove that Ice Age African Women,
European Women and Asian Women’s Intelligence and Intuitions were foolishly
underestimated by Archaeologist for over one hundred years. African Americans
were the first Americans, just as much as Europeans and the Plaintiff
‘presentations of this History to Virginia, America and the World was stopped by
the anxiety and depression that the Plaintiff had to bare.

Public Humiliation: at VCU Cabell Library: One Million dollars, (1,000,000.00)
The Plaintiff has suffered wrongs, humiliation, degradation, and discrimination at
the hands of Teresa Doherty, MLIS, Student Success Librarian in a public setting
at VCU since March 30", 2022; The Discrimination has left a lasting impression
on the Plaintiff as Johnny O Oliverio did not deserve this malicious humiliation in
Public by VCU Librarian Teresa Doherty who decided to Discriminate by not first
reporting to the VCU's Office of Institutional Equity, Effectiveness and Success
Office; that all Faculty and Staff are required to do. As: The Plaintiff discontinued
appearing on Campus as VCU records indicating the scanning of VCU student Id,
oliverioj at the Cabell Library prove that the Plaintiff was virtually absent
compared to the number of days he researched and studied in the basement IT 3D
Modeling Computer Hall before the Plaintiffs humiliating public confrontation on
March 30", 2022.

years: distress built as the Plaintiff studies indicating that Africans were the first
Americans as much as Europeans would be concealed from America and the
World as the African Women led their tribes for over one hundred thousand years
toward Europe and mated with the Europeans for thousands of years; The Plaintiff
research at the Cabell Library to prove that African Americans were the first
American was bringing mental distress to the t Plaintiff hat the subject of racism
would ever be associated with student Johnny O Oliverio.

Reputation Damages: against Defendant VCU and opposing parties; Five Hundred
Thousand dollars ($500,000.00)

SO,
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Mental distress built as the Plaintiff studies proved from the Plaintiff's research
from Dr. Dennis Stanford, Smithsonian Archaeologist, PBS DVD ‘First Peoples’
and Nova’s DVD ‘Decoding Neanderthals’ that Africans were the first Americans
as much as Europeans and this World History discovery by Plaintiff, a VCU
Student would be concealed and discriminated by the Defendants and opposing
parties of The Cabell Library’s malicious humiliation in Public by VCU Librarian
Teresa Doherty who decided to Discriminate by not first reporting to the

VCU's Office of Institutional Equity, Effectiveness and Success Office; that all
VCU Faculty and Staff are required to do.

Anxiety and Depression: Mental distress built as the Plaintiff studies proved from
the Plaintiff's research to prove the Plaintiff's theories that the first Americans
were African Europeans from the study of Dr. Dennis Stanford, Archaeologist
Smithsonian 1‘ Americans prior to March 30", 2022 that Europeans and Africans
were the first Americans thirty thousand years ago. Having to stop the Plaintiff's
research caused intense anxiety to prove that these Europeans had mated with
Africans for thousands of Years prior to arriving in Virginia. As: The Plaintiff
discontinued appearing on Campus as VCU records will prove that the Plaintiff
was virtually absent compared to the number of days he researched and studied in
the basement IT 3D Modeling Computer Hall.

Plaintiff faces Mental distress and suffering as Research discontinues because of
public humiliation at VCU. The Defendant persisted in disregarding and
concealing their verbally raciest conversations to the VCU's Office of Institutional
Equity, Effectiveness and Success Office causing the Plaintiff to suffer from
headaches and anxiety for an extended period after the public confrontation by
VCU Librarian Teresa Doherty. VCU Librarian Teresa Doherty of the Cabell
Library had created a hostile and intimidating environment for Johnny O Oliverio
to continue to prove that when Dr. Dennis Stanford’s Europeans arrived; All
arrivals were European, but the Blood of these Europeans was equally the blood of
Africans; with small amounts of Denificians and Neanderthals. The mental distress
and suffering experienced by the Plaintiff were exacerbated ten times by the
realization that the Plaintiff, a VCU Student who made the discovery of African
European first Americans Ice Age Lost Civilization on the James River in
Richmond might be concealed from world history due to the humiliation and
discrimination from the same University the Plaintiff knew he would make proud.

/I.
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The mental distress and suffering experienced by the Plaintiff were exacerbated by
the realization that the Plaintiff, a VCU Student with two authentications by
archaeologist of his Historical African European discovery of a Ice Age Lost
Civilization, acknowledged that the Plaintiff's discovery of massive stone carved
artifacts of sea mammals in the James River ‘was a lost civilization’; And
supported Dr. Dennis Stanford’s theory who plaintiff studied for many years as the
first massive Ice Age sculptures ever discovered in North American easily
identifiable because Dr. Dennis Stanford, Archaeologist, Smithsonian gave credit
to the materials used to build thirty foot canoes from the bones of walrus and
whales.

The mental distress and suffering experienced by the Plaintiff were exacerbated by
the realization that the Plaintiff continued to face the possibility of being
marginalized or erased from the greatest historical discovery by the Defendant
VCU’s discrimination and humiliation at the Cabell Library; as the Plaintiff
received authentication by two Archaeologist; and yet the Plaintiff knew that VCU,
the University he proudly graduated from in 1973 could for the next one hundred
years have the privilege to offer thousands of students throughout the USA, an
opportunity to fill the classrooms in History, Art, Sculpture and Science with a
laboratory of a African European Ice Age massive stone art sculptures carved by
Man in a fifty to sixty thousand year old Lost Civilization just a 3 miles away on
the James River, from the Pony Pasture to Bell Isle. The Plaintiff's research at the
Cabell Library to prove that African Americans were the first American was
bringing mental distress to the Plaintiff that the subject of racism would ever be
associated with VCU student in 2022, Johnny O Oliverio.

Economic Damages: Five Million dollars ($5,500,000.00)

The Plaintiff experienced growing mental anxiety as he questioned how VCU
could involve him in a racism conversation; as many VCU Students and Faculty
and Staff on the first level of the Cabell Library held two cards, attached as
evidence of the Plaintiff that reads that Africans were the first Americans and
another that designated the Plaintiff as a ‘Fair Housing Agent in the Virginia

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Association of Realtors. The plaintiff is a member in good standing with the
Virginia Association of Realtors who will end the careers of realtors who
discriminate as the VAR requires every two years of study to remind all realtors
that our sales are about the green dollar bill and not about the color of your skin.
This humiliation in public can end the career of Plaintiff in the real estate business
that could last another twenty years and VCU, as the Defendant discriminated
against Plaintiff.

The Discovery by Johnny O Oliverio, Plaintiff, a VCU student in 2022, of the
Oldest Ice Age Lost Civilization of massive stone art sculptures in Richmond
Virginia which has two authentications by American Archaeologist has an income
future once authenticated by European, African, and Asian Archaeologist in the
hundreds of millions of dollars: This humiliation in public can end the career of
Plaintiff to never be taken seriously and canceled by those who sometimes use
racist tactics to end their careers as Defendant VCU and opposing parties did; by
not reporting racist conversations to VCU’s Office of Institutional Equity,
Effectiveness and Success.

The mental distress and suffering experienced by the Plaintiff were exacerbated by
the realization that the Plaintiff, a VCU Student had taken the time from his Cabell
Library research in the basement to walk up to the first level to hand out the
Plaintiff's Ice Age Lost Civilization cards to the students in the library and to
students working behind the front desk, front counter.

Mental distress by the Plaintiff was overwhelming after March 30", 2022. The
Plaintiff's depression from this hostile and intimidating environment continued to
haunt Plaintiff Johnny O Oliverio and he could not shake off the effects of VCU’s
Cabell Library’s Discrimination especially when he could not understand when
Faculty, Staff and Students who received Plaintiff's card, could read the card that
stated http://www.rivercityseamonsters.com is America’s 1‘ Neanderthal Lost
Civilization on the James River in Richmond Va. 50,000 year old 100 Ton Stone
Art Sculptured Sea Mammals by Africans, Asians, Europeans and Neanderthals;
yet continue to engage the Plaintiff in a Raciest Conversation which was not
reported to VCU’s Office of Institutional Equity, Effectiveness and Success Office.
The Plaintiff's research at the Cabell Library to prove that African Americans
were the first American was bringing mental distress to the Plaintiff that the
subject of racism would ever be associated with VCU student in 2022, plaintiff,
Johnny O Oliverio.

SAR
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http://www.RiverCitySeaMonsters.com

is America's 1st Neandethal Lost Civilization
on the James River in Richmond Va. 60,000
Year Old 100 Ton Stone Art Sculpted Sea
Mammals by Africans, Asians, and
Europeans and Neanderthals, The

" Archaeologist taught us Wrong for 100
Years, Neanderthal was not an Ape. First
discovered in 1965- Yes, You can See Them
Tool All Video & Pictures Copyright Library of
Congress Copyright Office 2011

Published CBS TV 2014. Text 804 737 8700
Facabook:Rivercityseamonsters

Study Dr. Dennis Stanford on You Tube: enter ist Americans, ice
Age, Smithsonian: Dr Stanford teaches the discovery of Stone
artifacts in Del Marva Virginia area. The James River would be

the first Fresh Water River South 60,000 Years ago. If it were not

for John Gabriel Oliverio Studying Dr. Dennis Stanford This
Discovery was not possible. This is Dr. Dennis Stanford's Lost
Civilization, John Gabriel was just a Good Student. Also Study

a Neanderthal Lost Civilization they did not believe in. Then
Study RiverCitySeaMonsters.com History you can see today.

J4
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= Park Plaza Properties

= Fair Housing Agent

Richmond Assoc of Realtors
Fair Housing Broker

Call Tex 804 737 8700
JohnnyO@TenthDegree
RealEstate.com

1S,
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The mental anxiety grew as the Plaintiff constantly questioned ‘how could VCU
bring racism into a conversation when the Plaintiff fills his pockets each morning
with two cards; one that reads Africans were the first Americans and the other that
reads ‘Fair Housing Agent’ on his Virginia National Association of Realtors card?

The Plaintiff's depression from this hostile and intimidating environment
continued to haunt Johnny O Oliverio and he could not shake off the effects of
VCU’s Cabell Library’s Discrimination and discontinued using the Wonderful
Resources that Cabell Library’s IT basement offered for his research and the
Plaintiff ’s Discovery of a African European Fifty to Sixty Thousand Year Old Ice
Age Lost Civilization discovered on the James River in Richmond Virginia. The
Plaintiff was deeply affected by the discrimination experience at the VCU Cabell
Library, to the extent that he discontinued attendance at the VCU Monroe Campus
Cabell Library after March 30", 2022. This resulted in a significant loss of
academic research and study in the basement of VCU’s 3D modeling room.

The mental distress and suffering experienced by the Plaintiff was unimaginable as
each month the Plaintiff had to come to grips with the fact that his research had
come to a stop at the Cabell Library to prove African Americans were the first
Americans, just as much as Europeans and the Plaintiff's presentations announced
to Virginia, America and the World that African Women, European Women and
Asian Women’s Intelligence and Intuitions were Underestimated by Archaeologist
for over one hundred years.

The Plaintiff's depression from this hostile and intimidating environment
continued to haunt Johnny O Oliverio and he could not shake off the effects of
VCU’s Cabell Library’s Discrimination and Harassment and increasing understood
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that this negative public confrontation was unfair to all my friends and brothers of
all races for all of the Plaintiff's life.

Evidence: Teresa Doherty, MLIS did not know that Johnny O Oliverio, a VCU
Student in 2022 was spending his Summers playing Basketball on the outside
courts on Quincy Street in Alexandria Va. Johnny’s two brothers and our
Basketball teammates, Skip Brandon and Walter Hawkins both African Americans
in 1967, the Five of Us would take the cement basketball courts with the City Park
Lights shinning on us;

The five of us did this Sunday through Thursday each week until school started.
Teresa Doherty, MLIS did not know that Johnny O Oliverio and his Brothers and
teammates Walter Hawkins and Skip Brandon sometimes only had enough Gas
money to get us to Alexandria and back; all of us were very thirsty one night, still
sweating from the Summer heat; we had enough change in our pockets to buy one
RC Cola and Split it, Yes, each of us took a ‘Swig’ until our one bottle of RC Cola
was empty! Teresa Doherty, MLIS did not know that Plaintiff, Johnny O Oliverio
at the age of 17 was drinking after his African American Teammates, Walter and
Skip and my two brothers. Teresa Doherty, MLIS, did not report any raciest
incident or comments to VCU’s Office of Institutional Equity, Effectiveness and
Success (IES); It was the responsibility of the VCU’s Office of Institutional
Equity, Effectiveness and Success (IES) to build a case for or against Johnny O
Oliverio. Teresa Doherty, MLIS may have learned that Plaintiff, Johnny O
Oliverio was never a racist, but She and an Employee decided on their own to
discriminate and make their own decisions to confront Johnny O Oliverio with
Humiliating remarks in front of all at the front desk at the VCU Cabell Library.
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Evidence: Teresa Doherty, MLIS did not know that Plaintiff, Johnny O Oliverio, a
VCU Student in 2022 would visit his African American Highland Springs High
School Students years later after their graduating from HSHS; once Johnny heard
that they were having medical problems and in the Hospital;. Several times he
would share his time with his African American Students and once with Jonathan
Lee, who was on Coach O’s Tennis Team, the Brother of Buddy Lee; World
Expert in Teaching the Health benefits of the ‘Jump Rope’; Jonathan had Heart
Complications; several years later Jonathan died. Before he died Jonathan who
worked for the Federal Reserve and his old Coach O would meet at a Dance Club
called Visions in the Holiday Inn off Midlothian. Carlton was his Uncle and the
three of Us would dance throughout the night. Once Jonathan who was losing
weight because of his Heart problems didn’t weigh over 125 pounds, at that time I
felt so sad but in his last days Jonathan did his best to enjoy life. I’ll never forget
that at the same time Jonathan was under weight by 30 pounds and weak as he
could be said to Plaintiff, Johnny O Oliverio, “Coach O remember, if anyone gives
you any problems you got me to Back you Up”; Shortly after that Night of
Dancing, Jonathan pass away. This is one of the Fondest memories of Jonathan;
‘Going to Back his Highland Springs High School Coach O in Case of Problems’
with barely any strength in his Body.

The Love Plaintiff, Johnny O Oliverio, Coach O had for Jonathan Lee, one of his
favorite Highland Springs High School Students was who, Coach O was, Coach O
was never a racist. Here is the email and photo of Coach O in the Hospital Room
with Bobby Johnson again Sharing time with his African American Students who
loved seeing Coach O walk through that Hospital door. Teresa Doherty, MLIS, did
not report any raciest incident or comments to VCU’s Office of Institutional
Equity, Effectiveness and Success (IES); It was the responsibility of the VCU’s
Office of Institutional Equity, Effectiveness and Success (IES) to build a case for
or against Johnny O Oliverio. Teresa Doherty, MLIS may have learned that
Plaintiff , Johnny O Oliverio was never a racist, but She and an Employee decided
on their own to discriminate and make their own decisions to confront Johnny O
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Oliverio with Humiliating remarks in front of all at the front desk at the VCU
Cabell Library.

Evidence: After the Unexpected, Humiliating, and Confrontational Verbal Racist
Assault which was inappropriate and Discriminatory to the Plaintiff, Johnny O
Oliverio, which has had a lasting impression after the Plaintiff had to tolerate in
Public at the time this Verbal attack occurred. This Discrimination to not report to
VCU’s Office of Institutional Equity, Effectiveness and Success was unjustified
for the way Johnny O Oliverio lived his entire Life as a person who respected all
races.

The Racist comments in Public by VCU Librarian Teresa Doherty of the Cabell
Library were Humiliating to Plaintiff in Public and it was also Humiliating to all
the People Plaintiff Johnny O Oliverio has respected all his life. These are the
African Americans that gave Plaintiff Johnny O Oliverio the courage today to take
aggressive action against VCU and not allow Any Person to Discriminate against
Johnny O Oliverio; As VCU Librarian Teresa Doherty did on March 30", 2022;
First was Coach George Felton in Fairfax Virginia, my first African American
Coach; Coach Felton was the Best; Plaintiff, Johnny O Oliverio’s Teammates
didn’t call George Felton the African American Coach, the Basketball Team called
him, ‘Coach Felton’ and including among those African Americans I worked with,
Coach George Lancaster, Two Time State Championship in Virginia 1A and
included African Americans Plaintiff, Johnny O Oliverio played on the same
Basketball Teams with from his High School Basketball team, and on his College
Basketball team, Spartanburg College in 1969. If the Plaintiff was a racist, he
would have never set foot on a Basketball Court with African Americans sweating
on the Plaintiff in defensive positions, sweating on the Plaintiff blocking out for
the rebound, sweating on the Plaintiff intentionally fouling the Plaintiff and
sweating on the Plaintiff embracing a great play or a great Win.

Evidence: Emails below to Dr. Rao of photos from the Plaintiff's Highland Springs
High School Family.

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johnnyo tenthdegrecrealestate.com

To:president@vcu.edu
Tue 3/14/2023 6:11 PM
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Dr. Rao,

Here 1s a Photo of one of my Highland Springs High School Students and Me, In this
photo I was visiting Bobby in his Hospital room, That's Me wearing my NASCAR Number 24
Dupont Chevrolet 4 Time Champion Jacket of Jeff Gordon. | still communicate with Bobby
today and as many of my Highland Springs High School Students, Bobby was also polite,
respectful and today my Brother you can Trust. ff you can only be there to sce the Highland
Springs High School Springer Family reunite, it's a wonderful day and a wonderful feeling.

The Raciest comments in Public by a Staff member of the Cabell Library were
Humiliating to me in Public and it was also Humiliating to all the People I have respected all my
life Coach George Felton, my first African American Coach; Coach Felton was the Best: and
including those African Americans | worked with , Coached with, played with on my High
School Basketball team, and on my College Basketball teams and [ abided by all Fair Housing
Guidelines as a Realtor in Virginia for over 40 Years.
It's an Honor to have so many former students enjoy taking a Photo of their old High School
Driver Education Coach almost 50 Years later. ,

Highland Springs High School Springers are a close Family and | am a part of the Springer
Family.

Thank You so very much.

Johnny O Oliverio

Student id in 2022: oliverioj
Proud VCU Alumni of 1973

Regarding Raciest Accusations: My Highland Springs High School
Students were the Best. Photo

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johnnvo tenthdegreerealestate.cc

To:

presidente vcu.edu

Dr. Raa,

Here is a Photo of one of my Highland Springs High School JV Baskethall players and
Me, Hugh was a great ball player throughout High School Career when | was an Assistant JV
Coach. That day we both discussed a Great Teammate and a friend who was Calvin Bullock,
Handsome and Polite, Years later we lost him too soon as He committed Suicide. If you can
only be there to see the Highland Springs High School Springer Family reunite, it's a wonderful
day and a wonderful feeling.

The Raciest comments in Public by a Staff member were Humiliating to me in Public
and it was also Humiliating to all the People I have respected all my life, including those I
worked with, Coached with, played with on High School Basketball teams, on College
Basketball teams and abided by all Fair Housing Guidelines as a Realtor in Virginia for over 40
Years. It's an Honor to have so many former students enjoy taking a Photo of their old High
Schoo! Driver Education Coach almost 50 Years later.
Highland Springs High School Springers are a close Family and | am a part of the Springer
Family.
Thank You so very much. Johnny O Oliverio Student id in 2022: oliverio) Proud VCU Alumni of
1973
Regarding Raciest Accusations: My Highland Springs High School
Students were the Best. Photo 12

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Dr. Rao,

Big Smiles here in a Photo with one of Highland Springs High School's '2' Time State
Championship Coaches and Me, We are close friends today and were both attending a funeral
celebration of one of the Highland Springs High School Coaches. If you can only be there to see
the Highland Springs High School Springer Family reunite, it's a wonderful day and a wonderful
feeling.

The Raciest comments in Public were Humiliating to me in Public and ut was also
Humiliating to all the People | have respected all my life, including those I worked with,
Coached with, played with on High School Basketball teams, on College Basketball teams and
abided by all Fair Housing Guidelines as a Realtor in Virginia for over 40 Years.

It's an Honor to have so many former students, Respected Coaches and Principals enjoy taking a
Photo with me almost 50 Years later.

Highland Springs High School Springers are a close Family and Lam a part of the Springer
Family.

Thank You so very much. Johnny O Oliverio, Student Id oliverioj 2022
Regarding Raciest Accusations: My Highland Springs High School
Students were the Best. Photo 11

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Johnnvo tenthdegreerealestate.com

Po:

presidentiaveu.edu

Dr. Rao,

Here is a Photo of two of my Highland Springs High School Students and Me, Louis
was a Star Football Play at UVa. His Brother Malcomb passed away years ago. Malcomb was
always polite and respectful just like most all of my students at Highland Springs High School, If
you can only be there to see the Highland Springs High Schoo! Springer Family reunite, it's a
wonderful day and a wonderful feeling.

The Raciest comments in Public were Humiliating to me in Public and it was also
Humuliating to all the Peaple I have respected all my life, including those | worked with,
Coached with, played with on High School Basketball teams, on College Basketball teams and
abided by all Fair Housing Guidelines as a Realtor in Virginia for over 40 Years.

It's an Honor to have so many former students enjoy taking a Photo of their old High School
Driver Education Coach almost 50 Years later.

Highland Springs High School Springers are a close Pamily and [am a part of the Springer
Family.

Thank You so very much. Johnny 0 Oliverio, Student id oliverioj, in 2022

Regarding Raciest Accusations: My Highland Springs High School

Students were the Best. Photo 10

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To:

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Dr. Rao,

Here is a Photo of a few of my Highland Springs High School Students with Big Smiles.
If you can only be there to see the Highland Springs High School Springer Family reunite, it's a
wonderful day and a wonderful feeling when my students 50 Years later say, "Coach, we want a
picture with you too”. The Raciest comments in Public were Humiliating to me in Public and it
was also Humiliating to all the People | have respected all my life, including thase | worked
with, Coached with, played with on High School Basketball teams, on College Basketball teams
and abided by all Fair Housing Guidelines as a Realtor in Virginia for over 40 Years.
It’s an Honor to have so many former students enjoy taking a Photo of their old High School
Driver Education Coach almost 50 Years later.
Highland Springs High School Springers are a close Family and Lam a part of the Springer
Family.
Thank You so very much. Johnny O Oliverio Student id in 2022: oliverioj Proud VCU
Alumni of 1973

Regarding Raciest Accusations: My Highland Springs High School
Students were the Best. Photo 9

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Dr. Rao,

Here is a Photo of two of my Highland Springs High School Students and Me, Carlton
and Butch. If you can only be there to see the Highland Springs High School Springer Family
reunite, it's a wonderful day and a wonderful feeling. The Raciest comments in Public were
Humiliating to me in Public and it was also Humiliating to all the People I have respected all my
life, including those | worked with, Coached with, played with on High School Basketball teams.
on College Basketball teams and abided by all Fair Housing Guidelines as a Realtor in Virginia
for over 40 Years.

It's an Honor to have so many former students enjoy taking a Photo of their old High School
Driver Education Coach almost 50 Years later.

Highland Springs High School Springers are a close Family and Lam a part of the Sprin
Family.

Thank You so very much. Johnny O Oliverio

Student id in 2022: oliveriaj

Proud VCU Alumni of 1973

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Students were the Best. Photo &

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Dr. Rao,

Here is a Photo of one of my Highland Springs High School Students and Me. [had not
seen Butch for over 40+ Years and look at his smile and he put his arm around me, hugging me
with the love | know we have for each other. Part of the Reason that I was able to be se close to
these students for so long was because of one of my VCU Instructors that recommended me for
the open teachers position at Highland Springs High School. That recommendation that allowed
me my first Job meant everything to me in 1973. | wanted to make VCU proud and 30 years later
each photo tells a story; thanks to my VCU Instructor.

Highland Springs High School Springers are a close Family and f am a part of the Springer
Family.
Thank You so very much.

Johnny O Oliverio
Student id in 2022: oliverioy
Proud VCU Alumni of 1973

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presidents veucdu

Dr. Rao,

Here is a Photo of my Highland Springs High School Principals and Me afier the ECU
football game on the Field. It’s an Honor to have so many former students enjoy taking a Photo
of their old High School Driver Education Coach almost 50 Years later: but when I received a
Call from this Principal just a few weeks after VCU Cabell Library Staff humiliated me in
Public, it was one call that Lso needed. "Want to join me to attend my Grandson's ECU Footbal!
Spring game"? We had a great day together as this Principal and | have stayed in contact and are
great friends since the early 1970T's. We are Brothers.

Highland Springs High School Springers are a close Family and | am a part of the Springer
Family.

Thank You so very much.

Johnny O Ohlverto
Student id in 2022: oliverioj Proud VCU Alumni of 1973

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Here ts a Phoio of my Highland Springs High School Students and Me. It’s an Honor to
have so many former students enjoy taking a Photo of their old High School Driver Education

Coach almost 50 Years later.

Highland Springs High School Springers are a Family and {um a part of that Springer Family

Thank You so very much.

Johnny O Ohiverio
Student id in 2022: oliverioj

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Dr. Rao,

have so many former students enjoy taking a Photo of their old High School Driver Education
Coach almost 50 Years later.

Thank You so very much.
Johnny O Oliverio

Student id in 2022: oliverioj
Proud Alumni since 1973

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Accusations of Raciest Comments to Student ID oliverioj

VCU Employee who Accused Johnny O Qliverio in March of 2022 of Using Raciest Comments by a 3
party also emploved by VCU in Public at the Front Counter of the 1 Floor Cabell Library.

Teresa Doherty, MUS
e Student Success Librarian

e (804) 828-8658
s rmidonert@vcu edu

Sa cob om x s . wo | Be sig yt Se

» tudent Success Librarian

2 Assistant Professor

e Research and Learning, Student Success

e {804) 828-8658
e mtdohert@vcu.edu

e Schedule an Apoointment
Teresa Doherty leads VCU Libraries’ undergraduate student success initiatives, with a specific
focus on first- and second-year undergraduates, students who identify as first-generation or
underrepresented minorities, and low-income students. She also collaborates with instructors
in the Focused inquiry team to offer curriculum-integrated information literacy sessions for
undergraduate students taking UNIV 200, and supports students in UNIV 111 and UNIV 112
with research assistance as well.
Teresa is actively engaged with library colleagues on the state and national levels, especially in
the area of intellectual freedom. She has served as a member of the American Library

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